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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

         v.

 DOUGLAS EDELMAN
                                                        Case No. 24-cr-239 (CKK)
 and

 DELPHINE LE DAIN,

         Defendants.


                       MOTION FOR ADMISSION PRO HAC VICE

        Pursuant to D.C. Local Criminal Rule 44.1, I, Sonya C. Bishop, move the Court to admit

Marion Allison Rocker-Tuohy for the limited purpose of appearing and participating as attorney

of record on behalf of Defendant Douglas Edelman in the above-captioned case. Ms. Rocker-

Tuohy’s address is PO Box 3938, Evergreen, Colorado 80437, and her phone number is 303-906-

9558.

        I incorporate by reference the Declaration by Ms. Rocker-Tuohy, attached to this Motion

as Exhibit A, and the certificates of good standing for Ms. Rocker-Tuohy from the State Bar of

Colorado and the District of Columbia Bar, attached hereto as Exhibits B and C respectively.

        Dated: September 10, 2024                  Respectfully submitted,

                                                   /s/ Sonya C. Bishop
                                                   SONYA C. BISHOP
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